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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION


HOLDING COMPANY OF THE
VILLAGES, INC., a Florida corporation,                Case No. 5:15-cv-00101-Oc-39PRL

       Plaintiff,

v.

A W POWELL LLC, a Florida limited liability
Company, VILLAGES RENTALS, LLC, a
Florida limited liability company, and
ALISTAIR W. POWELL a/k/a ALISTAIR
BARRETT-POWELL d/b/a VILLAGES
INDEPENDENT REALTY d/b/a VILLAGES
INTERNATIONAL REALTY,

      Defendants.
_______________________________________/

     DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’
                            COMPLAINT

       Defendants, A W POWELL LLC, VILLAGES RENTALS (“A W”), LLC (“VILLAGES

RENTALS”), and ALISTAIR W. POWELL a/k/a ALISTAIR BARRETT-POWELL d/b/a

VILLAGES INDEPENDENT REALTY d/b/a VILLAGES INTERNATIONAL REALTY

(“POWELL”) (jointly, “Defendants”) by and through the undersigned counsel, hereby file their

Answer and Affirmative Defenses in response to Plaintiff, HOLDING COMPANY OF THE

VILLAGES, INC.’s (“Plaintiff”) Complaint (Doc. 1), and state as follows:

                                            PARTIES

       1.      Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 1, and therefore deny the same.

       2.      Defendants admit the allegations of Paragraph 2.

       3.      Defendants admit the allegations of Paragraph 3.


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       4.      Defendants admit the allegations of Paragraph 4.

       5.      Defendants admit the allegations of Paragraph 5.

       6.      Defendants admit the allegations of Paragraph 6.

       7.      Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 7, and therefore deny the same.

       8.      Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 8, and therefore deny the same.

       9.      Defendants deny the allegations of Paragraph 9.

       10.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 10, and therefore deny the same.

       11.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 11, and therefore deny the same.

       12.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 12, and therefore deny the same.

       13.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 13, and therefore deny the same.

       14.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 14, and therefore deny the same.

       15.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 15, and therefore deny the same.

       16.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 16, and therefore deny the same.

       17.     Defendants deny the allegations of Paragraph 17.

       18.     Defendants admit that Plaintiff has received Certificates of Registration from the


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U.S. Patent and Trademark Office as shown on Composite Exhibit “A”. Defendants deny the

remaining allegations contained in Paragraph 18.

        19.     Defendants deny the allegations of Paragraph 19.

        20.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 20, and therefore deny the same.

        21.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 21, and therefore deny the same.

        22.     Defendants deny the allegations of Paragraph 22.

        23.     Defendants admit Exhibit “D” appears to be a letter addressed to Defendant

POWELL, otherwise, the document speaks for itself. Defendants deny the remaining allegations

contained in Paragraph 23.

        24.     Defendants deny Defendant A W required Plaintiff’s permission or authorization to

file a fictitious name.

        25.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 25, and therefore deny the same.

        26.     Defendants admit POWELL and A W conducted business under the trade name

VILLAGES INDEPENDENT REALTY and registered the domain www.villagesir.com.

Defendants deny the remaining allegations contained in Paragraph 26.

        27.     Defendants admit that Exhibit “E” is a true and correct copy of a letter sent by

Plaintiff’s counsel. Defendants deny the remaining allegations contained in Paragraph 27.

        28.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 28, and therefore deny the same.

        29.     Defendants deny the allegations of Paragraph 29.

        30.     Defendants deny the allegations of Paragraph 30.


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       31.     Defendants deny the allegations of Paragraph 31.

       32.     Defendants deny the allegations of Paragraph 32.

       33.     Defendants deny the allegations of Paragraph 33.

       34.     Defendants deny the allegations of Paragraph 34.

       35.     Defendants deny the allegations of Paragraph 35.

       36.     Defendants deny the allegations of Paragraph 36.

       37.     Defendants deny the allegations of Paragraph 37.

       38.     Defendants deny the allegations of Paragraph 38.

       39.     Defendants are without knowledge or information sufficient to form a belief as to

the truth or falsity of the allegations of Paragraph 39, and therefore deny the same.

       40.     Defendants deny the allegations of Paragraph 40.

                                     COUNT I
                        FEDERAL TRADEMARK INFRINGEMENT
                                 15 U.S.C. § 1114(1)

       41.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       42.     Defendants deny the allegations of Paragraph 42.

       43.     Defendants deny the allegations of Paragraph 43.

       44.     Defendants deny the allegations of Paragraph 44.

       45.     Defendants deny the allegations of Paragraph 45.

       46.     Defendants deny the allegations of Paragraph 46.

       47.     Defendants deny the allegations of Paragraph 47.

       48.     Defendants deny the allegations of Paragraph 48.

       49.     Defendants deny the allegations of Paragraph 49.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable


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attorney’s fees, and for all other relief just and proper in the premises.

                               COUNT II
     FALSE DESIGNATION OF ORIGIN AND FEDERAL FALSE ADVERTISING
                            15 U.S.C. § 1125

       50.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       51.     Defendants deny the allegations of Paragraph 51.

       52.     Defendants deny the allegations of Paragraph 52.

       53.     Defendants deny the allegations of Paragraph 53.

       54.     Defendants deny the allegations of Paragraph 54.

       55.     Defendants deny the allegations of Paragraph 55.

       56.     Defendants deny the allegations of Paragraph 56.

       57.     Defendants deny the allegations of Paragraph 57.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.

                                       COUNT III
                             FEDERAL TRADEMARK DILUTION
                                     15 U.S.C. § 1125

       58.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       59.     Defendants deny the allegations of Paragraph 59.

       60.     Defendants deny the allegations of Paragraph 60.

       61.     Defendants deny the allegations of Paragraph 61.

       62.     Defendants deny the allegations of Paragraph 62.

       63.     Defendants deny the allegations of Paragraph 63.

       64.     Defendants deny the allegations of Paragraph 64.

       65.     Defendants deny the allegations of Paragraph 65.


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       66.     Defendants deny the allegations of Paragraph 66.

       67.     Defendants deny the allegations of Paragraph 67.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.

                               COUNT IV
             TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION
                          UNDER COMMON LAW

       68.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       69.     Defendants deny the allegations of Paragraph 69.

       70.     Defendants deny the allegations of Paragraph 70.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.

                                 COUNT V
                    UNFAIR COMPETITION IN VIOLATION OF
             FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT

       71.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       72.     Defendants deny the allegations of Paragraph 72.

       73.     Defendants deny the allegations of Paragraph 73.

       74.     Defendants deny the allegations of Paragraph 74.

       75.     Defendants deny the allegations of Paragraph 75.

       76.     Defendants deny the allegations of Paragraph 76.

       77.     Defendants deny the allegations of Paragraph 77.

       78.     Defendants deny the allegations of Paragraph 78.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that


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Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.

                            COUNT VI
       TRADEMARK INFRINGEMENT UNDER § 495.131, FLORIDA STATUTES

       79.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       80.     Defendants deny the allegations of Paragraph 80.

       81.     Defendants deny the allegations of Paragraph 81.

       82.     Defendants deny the allegations of Paragraph 82.

       83.     Defendants deny the allegations of Paragraph 83.

       84.     Defendants deny the allegations of Paragraph 84.

       85.     Defendants deny the allegations of Paragraph 85.

       86.     Defendants deny the allegations of Paragraph 86.

       87.     Defendants deny the allegations of Paragraph 87.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.

                                   COUNT VII
                    DILUTION UNDER § 495.151, FLORIDA STATUTES

       88.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       89.     Defendants deny the allegations of Paragraph 89.

       90.     Defendants deny the allegations of Paragraph 90.

       91.     Defendants deny the allegations of Paragraph 91.

       92.     Defendants deny the allegations of Paragraph 92.

       93.     Defendants deny the allegations of Paragraph 93.

       94.     Defendants deny the allegations of Paragraph 94.


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       95.     Defendants deny the allegations of Paragraph 95.

       96.     Defendants deny the allegations of Paragraph 96.

       97.     Defendants deny the allegations of Paragraph 97.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.

                             COUNT VIII
    VIOLATION OF ANTICYBERSQUATTING CONSUMER PROTECTION ACT,
                          15 U.S.C. § 1125(d)

       98.     Defendants reincorporate their responses to Paragraphs 1 to 40 above.

       99.     Defendants deny the allegations of Paragraph 99.

       100.    Defendants deny the allegations of Paragraph 100.

       101.    Defendants deny the allegations of Paragraph 101.

       102.    Defendants deny the allegations of Paragraph 102.

       103.    Defendants deny the allegations of Paragraph 103.

       104.    Defendants deny the allegations of Paragraph 104.

       105.    Defendants deny the allegations of Paragraph 105.

       106.    Defendants deny the allegations of Paragraph 106.

       WHEREFORE, Defendants request the Court enter an order in Defendants’ favor and that

Plaintiff take nothing by way of its Complaint and award the Defendants its costs and reasonable

attorney’s fees, and for all other relief just and proper in the premises.




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                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE
                                      (Unenforceability)

           1.   Plaintiff’s marks are unenforceable against the Defendants as they are

geographically descriptive, generic and/or merely descriptive.

                             SECOND AFFIRMATIVE DEFENSE
                                      (Estoppel)

           2.   Plaintiff is estopped from enforcing its marks against the Defendants due to prior

representations made to the U.S. Patent and Trademark Office and the Florida Secretary of State.

                               THIRD AFFIRMATIVE DEFENSE
                                         (Waiver)

           3.   Plaintiff’s marks are unenforceable against Defendants as Plaintiff has waived any

claim it may have against the Defendants due to Plaintiff’s failure to enforce its marks against third

parties.

                             FOURTH AFFIRMATIVE DEFENSE
                                     (Acquiescence)

           4.   Plaintiff’s marks are unenforceable against the Defendants as Plaintiff has allowed

numerous third parties to use its marks without objection and/or license.

                               FIFTH AFFIRMATIVE DEFENSE
                                         (Fair Use)

           5.   Plaintiff’s claim against the Defendants must fail as the Defendants’ use of the

word “VILLAGES” is merely to describe the geographical location of the Defendants’ business

and not used as a trademark.

                               SIXTH AFFIRMATIVE DEFENSE
                                    (No Bad Faith Intent)

           6.   Plaintiff’s claim for violation of the Anticybersquatting Consumer Protection Act,

15 U.S.C. § 1125(d), fails as Plaintiff’s marks are not famous nor distinctive, and Defendants had a


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 good faith and proper business motive for using the term “VILLAGES”. Defendants did not

 register the domain name with a bad faith intent to profit, and Defendants maintain a legitimate

 business purpose.

                              SEVENTH AFFIRMATIVE DEFENSE
                                      (Unclean Hands)

         7.       Plaintiff’s claims are barred due to its failure to enforce their marks, and

 fraudulent statements made to the U.S. Patent and Trademark Office.

         WHEREFORE, Defendants demand judgment in their favor and against Plaintiff, an award

 of the costs to defend this action, attorney’s fees and all other relief just and proper in the premises.

 Dated: April 1, 2015.


                                                 /s/ Mark F. Warzecha
                                                 Mark F. Warzecha, Esq.
                                                 Florida Bar No. 0095779
                                                 WIDERMAN MALEK, PL
                                                 1990 W. New Haven Avenue, Suite 201
                                                 Melbourne, Florida 32904
                                                 Telephone: 321-255-2332
                                                 Facsimile: 321-255-2351
                                                 MFW@USLegalteam.com
                                                 Attorney for Defendants




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 1, 2015, I electronically filed the foregoing document

 with the Clerk of the Court using the CM/ECF filing system. I further certify that the foregoing

 document is being served this date on all counsel of record or pro se parties, either via transmission

 of Notices of Electronic Filing generated by the CM/ECF system or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically Notices of

 Electronic Filing.


                                                       /s/ Mark F. Warzecha
                                                       Mark F. Warzecha




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